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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                Case No. 2:24-cv-11626
                                                  Hon. Susan K. DeClercq
WILLIAM A. SMITH,

      Defendant.


                       STIPULATED ORDER
                REGARDING SALE OF BUSINESS ASSETS
           ASSOCIATED WITH DUO RESTAURANT AND LOUNGE


      This Stipulated Order (“Order”) is made and entered into by and between the

United States of America (“United States”), by and through the United States

Attorney’s Office for the Eastern District of Michigan (“USAO”), through its

attorneys, K. Craig Welkener and Jessica A. Nathan, Assistant United States

Attorneys; Defendant, William A. Smith, and Defendant’s entity, YBE Food Group,

LLC, a Michigan limited liability company (“YBE Food Group”), by and through

their attorney, Gerald K. Evelyn, (together, the “Parties”) regarding the business

assets located at or associated with business previously operated by YBE Food

Group at the real property commonly known as, 29555 Northwestern Hwy., Ste 304,

Southfield, Oakland County, Michigan (the “Premises”) and more fully described as

follows:
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            1.    The Class C and Specially Designated Merchant liquor licenses

     issued by the Michigan Liquor Control Commission (License Nos. L-

     000267109 and L-000267110, Business Id. No. 244173) (collectively, the

     “Liquor License”);

           2.     All alcohol inventory located at the Premises (the “Alcohol
     Inventory”);

            3.    To the extent not owned by Commercial Property Associates, LLC,

     the landlord of the Premises, all furniture, fixtures, and equipment and other

     property located at the Premises, and any keys or passcodes to the Premises

     (collectively, the “FF&E”); and

            4.    All right title and interest, if any, in the name “Duo Restaurant and

     Lounge” and all derivations thereof; any patents, logos, slogans, copyrights,

     trade secrets, formulae, telephone numbers, telephone listings, fax numbers,

     websites, social media accounts, passcodes, and customer lists used in

     connection with the operated business known as “Duo Restaurant and Lounge”

     (collectively, the “Goodwill”).

(the Liquor License, Alcohol Inventory, FF&E, and Goodwill are collectively referred
to herein as the “Business Assets”).

      WHEREAS, William A. Smith is the sole Member of YBE Food Group which

holds title to the Business Assets.

      WHEREAS on June 22, 2024, the Court issued a temporary restraining order
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prohibiting any person from transferring or disposing of Defendant William A.

Smith’s assets (including assets of his corporate entities) up to a total value of $39.3

million dollars. ECF No. 5.

      WHEREAS by stipulation, the Parties extended the TRO to January 28, 2025.

ECF No. 10, 11, 21, and 24.

      WHEREAS the Court issued a Stipulated Preliminary Injunction on January

28, 2025 which extended the asset freeze indefinitely, to include the assets of YBE

Food Group.

      WHEREAS the TRO and the Stipulated Preliminary Injunction freezes

Smith’s and his entities’ assets, the TRO and the Stipulated Preliminary Injunction

permits the controlled sale of property under certain conditions, e.g., via arms-

length transaction, for fair market value, disclosed to the United States Attorney’s

Office, with proceeds preserved for the benefit of Smith’s victim(s), and ultimately

subject to Court approval. ECF No. 24, PageID. 497.

       WHEREAS the Parties acknowledge that on September 24, 2024, the United

 States filed an Information against William A. Smith in the Eastern District of

Michigan, Case No. 2-24-CR-20532, for charges including Wire Fraud, in violation

 of 18 U.S.C. § 1343, and Laundering of Monetary Instruments, in violation of 18

 U.S.C. § 1956(a)(1)(B)(i). United States v. Smith, Case No. 2:24-cr-20532, ECF No.

14. The Information includes Forfeiture Allegations. Id. at PageID 56.
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      WHEREAS the Parties acknowledge that on January 16, 2025, a contract for

the purchase of the Business Assets (the “Purchase Agreement”) was entered into by

William Smith, YBE Food Group, and a prospective buyer identified in the Purchase

Agreement (the “Buyer”). These same parties have also agreed to an Amendment

to the Purchase Agreement, stating that the provisions of this Order shall govern and

control.

      WHEREAS the Parties acknowledge that it is in the best interests of all Parties

to consummate the Purchase Agreement under the conditions of the Preliminary

Injunction.

      WHEREAS the United States Attorney’s Office has reviewed the details of

the proposed transaction, including but not limited to, the Purchase Agreement and

Amendment. Based on its review, the USAO recommends the Court approve the

transaction.

      WHEREAS the Parties submit this Stipulated Order for the purpose of placing

funds realized from the sale of the Business Assets into an escrow account pending

resolution of the civil and/or criminal proceedings.

      NOW THEREFORE, the Parties do hereby agree as follows:

              1)   YBE Food Group and William A. Smith shall sell the Business

               Assets in accordance with the terms of the Purchase Agreement and

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            shall comply with all of the terms set forth in the Purchase Agreement

            Amendment, and this Order.

          2)     YBE Food Group and William A. Smith shall, without delay (a)

            cooperate with the Michigan Liquor Control Commission’s (“MLCC”)

            investigation, complete all MLCC application materials and provide all

            documentation required by the MLCC in order for it to approve the

            transfer of the Liquor License and Alcohol Inventory to the Buyer

            pursuant to the Purchase Agreement; and (b) diligently cooperate with

            Buyer to obtain all municipal approvals required for the transfer of the

            Liquor License to the Buyer for use at the Premises.

          3)     Upon closing of the transaction contemplated under the Purchase

            Agreement and the release of the escrow as provided in the Purchase

            Agreement, the Buyer shall pay by wire transfer or a cashier’s check

            payable to the United States Marshals Service and reference “29555

            Northwestern Hwy., Ste 304, Duo Restaurant and Lounge – Case No.

            2:24-CR-20532” for One Hundred Fifty-Five Thousand Dollars

            ($155,000.00), less taxes and assessments owed by YBE Food Group

            as set for in paragraph 9(c) of the Purchase Agreement, including

            Fifteen Thousand Eighteen Dollars and 98/100 Dollars ($15,018.98) for

            personal property taxes and utilities paid by Buyer to the City of
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            Southfield. Wire instructions or mailing address (if payment is to be

            made by cashier’s check) will be provided by the USAO to Buyer upon

            request.    Notwithstanding anything set forth in the Purchase

            Agreement, no funds shall be paid by YBE Food Group or William A.

            Smith in advance of the closing of the transaction contemplated under

            the Purchase Agreement (including Tax Clearance Funds), but all such

            funds required to be paid for taxes (including unemployment insurance

            taxes) and assessments owed to the State of Michigan shall be paid from

            the purchase price proceeds to be held in escrow pursuant to the

            Purchase Agreement. Upon the payment of any applicable taxes and

            assessments, all net proceeds due to YBE Food Group, if any, shall be

            paid to the United States Marshals Service as aforesaid. The funds shall

            be held in the Department of Justice Seized Asset Deposit Fund pending

            completion of the civil (24-cv-11626) and criminal (24-cr-20532)

            cases.

          4)     William A. Smith and YBE Food Group stipulate and agree that, in

          the event of William A. Smith’s conviction to a charge authorizing

          forfeiture in Case No. 2:24-cr-20532, William A. Smith and YBE Food

          Group shall forfeit the proceeds of the sale in connection with the

          Business Assets up to the amount of any forfeiture money judgment.
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          5)     William A. Smith and YBE Food Group stipulate and agree that, in

          the event of William A. Smith’s conviction and the entry of an order for

          restitution in Case No. 2:24-cr-20532, William A. Smith and YBE Food

          Group will not file a claim or petition for any of the funds, and consent to

          the application of any portion of the Business Assets proceeds to an order

          for restitution.

          6)      The Parties agree designation and application of the Business

            Assets proceeds is at the discretion of the United States.

          7)      In the event any portion of the Business Assets proceeds are

          forfeited under this Order, William A. Smith and YBE Food Group agree

          that: a) they shall not file a claim or petition for any of the funds; b) they

          shall consent to the forfeiture of these funds under these terms to the

          United States; c) William A. Smith, YBE Food Group, and any of

          William A. Smith’s related entities shall forego any cognizable interest

          as third parties; and d) William A. Smith, YBE Food Group, and any of

          William A. Smith’s related entities shall forever extinguish their right,

          title, or interest in these funds and clear title to the funds shall vest in the

          United States of America and the United States Marshals Service shall

          be authorized to dispose of the funds according to law.

          8)      William A. Smith, YBE Food Group, and William A. Smith’s
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          related entities, agree to unconditionally release and forever discharge the

          United States, and its agencies, agents, officers and employees, past and

          present, and any other persons who participated in or assisted in any

          aspect of the transaction or the related investigation (the “Released

          Parties”), from any and all claims, causes of action, suits, proceedings,

          judgments, and/or demands in law or equity, which William A. Smith,

          YBE Food Group, and William A. Smith’s related entities, and/or their

          assigns, agents, heirs, or successors in interest has or may have against

          the Released Parties, for, or on account of, the incidents or circumstances

          related to the Government’s identification of the property for forfeiture.

            9)   William A. Smith and YBE Food Group acknowledge that they

            have read and discussed the terms of this Order with their attorney or

            have otherwise been provided an opportunity to consult with an

            attorney, that they are aware of their rights regarding this matter, and

            that they fully understand the terms, conditions, and consequences of

            entering into this Order.

          10)    The Parties stipulate and agree that all Parties shall bear their own

            costs and fees concerning this Order, if any. The Parties agree not to

            claim or seek any fees or costs, including attorney fees, from the United

            States in connection with this Agreement and knowingly and
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            voluntarily waive any and all claims for attorney fees and costs,

            whether under the Civil Asset Forfeiture Reform Act of 2000, the Equal

            Access to Justice Act, or any other statute, rule or regulation.

          11)    This Order encompasses the full agreement of the Parties

            regarding the United States’ interest in the Business Assets. As stated in

            paragraph 1, the terms of the agreement to purchase the Business Assets

            from William A. Smith and YBE Food Group shall be addressed in a

            separate written agreement between the third-party purchaser, William

            A. Smith, and YBE Food Group. For the avoidance of doubt, this Order

            governs over conflicting language contained in the separate written

            agreement between the third-party purchaser, William A. Smith, and

            YBE Food Group.

          12)    The Parties agree that entry into this Order by William A. Smith

            and YBE Food Group does not constitute an admission to any criminal

            or civil wrongdoing.

          13)    This Order may be executed in two or more counterparts, each of

            which shall be deemed an original, but all of which together shall

            constitute one and the same agreement.

          14)    By their signatures below, the Parties agree to all of the terms and

            conditions stated herein.
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Agreed as to form and substance:

JULIE A. BECK
Acting United States Attorney
 s/ K. Craig Welkener                   s/ Gerald K. Evelyn
 K. Craig Welkener (DC 1033585)         Gerald K. Evelyn (P29182)
 Jessica A. Nathan (TX 24090291)        Robert E. Higbee (P82739)
 Assistant United States Attorneys      Counsel for Defendant & YBE Food
 211 W. Fort St., Ste. 2001             Group
 Detroit, MI 48226                      409 East Jefferson Ave., Ste. 500
 (313) 226-0248 (Welkener)              Detroit, MI 48226
 (313) 226-9643 (Nathan)                (313) 962-3500
 Kenton.Welkener@usdoj.gov              geraldevelyn@yahoo.com
 Jessica.Nathan@usdoj.gov               robhigbee@gmail.com
 Dated: April 2, 2025                   Dated: April 1, 2025
IT IS SO ORDERED.

Dated: April 9, 2025
                                     s/ Susan K. DeClercq
                                     SUSAN K. DeCLERCQ
                                     United States District Judge




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